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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

NISSAN NORTH AMERICA, INC.,

       Plaintiff,                                 Civil Action No. 2:09-cv-11783
v.                                                Honorable Anna Diggs Taylor

JOHNSON ELECTRIC NORTH AMERICA,
INC., a foreign corporation,

      Defendant.
_____________________________________________________________________________

Thomas S. Bishoff (P53753)P53753                         Stephen N. Weiss (SW3662)
Brittany M. Schultz (P63272)                             Gregory J. Fleesler (GF2165)
Dawn N. Perry (P72399)                                   Michael J. Pospis (MP2489)
DYKEMA GOSSETT PLLC                                             (not yet admitted to practice)
Attorneys for Plaintiff                                  MOSES & SINGER LLP
400 Renaissance Center                                   Attorneys for Defendant
Detroit, MI 48243                                        The Chrysler Building
(313) 568-5341                                           405 Lexington Avenue
                                                         New York, NY 10174-1299
                                                         (212) 554-7800

                                                Matthew J. Lund (P48632)
                                                Adam A. Wolf (P71278)
                                                PEPPER HAMILTON LLP
                                                100 Renaissance Center
                                                Of Counsel for Defendant
                                                Detroit, MI 48243
                                                (313) 259-7100
_____________________________________________________________________________


                    DISCLOSURE OF CORPORATE AFFILIATIONS

Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Nissan North America,
Inc. makes the following disclosure:

1.     Is there a parent corporation or any publicly held corporation owning more than 10% of
Nissan North America, Inc.’s stock?

       Yes. Nissan Motor Co., Ltd. is the parent company of Nissan North America, Inc.
       Nissan Motor Co., Ltd. is publicly traded in Japan. American Depository Receipts
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       in Nissan Motor Co., Ltd. are traded in the United States. Nissan Motor Co., Ltd.
       owns more than 10% of Nissan North America, Inc.’s Stock.

                                           Respectfully submitted,

                                           DYKEMA GOSSETT PLLC


                                           By: /s/ Brittany M. Schultz______
                                           Thomas S. Bishoff (P53753)
                                           Brittany M. Schultz (P63272)
                                           Dawn N. Perry (P72399)
                                           Attorneys for Plaintiff Nissan
                                           400 Renaissance Center
                                           Detroit, MI 48243
                                           (313) 568-5341

Dated: June 2, 2009
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2009, I electronically filed the foregoing paper with the
Clerk of the Court using the ECF system, which will send notification of such filing to the
following:

   Gregory J. Fleesler
   gfleesler@mosessinger.com,rtorres@mosessinger.com

   Matthew J. Lund
   lundm@pepperlaw.com,mondah@pepperlaw.com

   Michael J. Pospis - NOT SWORN
   mpospis@mosessinger.com

   Stephen N. Weiss
   sweiss@mosessinger.com,jdefrank@mosessinger.com

   Adam A. Wolfe
   wolfea@pepperlaw.com



                                              Respectfully submitted,

                                              DYKEMA GOSSETT PLLC


                                              By: /s/ Brittany M. Schultz______
                                              Thomas S. Bishoff (P53753)
                                              Brittany M. Schultz (P63272)
                                              Dawn N. Perry (P72399)
                                              Attorneys for Plaintiff Nissan
                                              400 Renaissance Center
                                              Detroit, MI 48243
                                              (313) 568-5341

Dated: June 2, 2009
